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               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

LILY ENGLEMAN,

Plaintiff,
                                               Civil Action
v.                                             File No. 1-21-cv-1992-MLB

NATHAN ADKERSON, et al.,

Defendants.

                                     ORDER

      Upon consideration of the Joint Motion to Extend Discovery and for good

cause shown, the Court hereby GRANTS the motion and extends discovery

through and including February 28, 2023, and extends the deadline for the filing

of dispositive motions to March 28, 2023.

      SO ORDERED this 20th day of December, 2022.




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